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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

RUFUS LOVELL BROOKS,

                     Plaintiff,

v.                                                       Case No.: 6:22-cv-669-WWB-LHP

BROOKS CONSULTANTS, INC., TERI-
LYNNE JOHANSSON, GERRY WYSE,
LABYRINTH INTERNATIONAL, LLC,
FUSION SOLUTION, INC., FATIMA
ABBAS, SWI, INC., and ETEAM, INC.,

                     Defendants.



                                          ORDER

       The parties are hereby ORDERED TO SHOW CAUSE by a written response filed

on or before July 14, 2022, why this case should not be dismissed, pursuant to Local

Rule 3.10, for lack of prosecution due to the non-filing of a Case Management Report

within the time prescribed in the Court’s Notice of Local Rule 3.02(a)(2) (Doc. 5), filed on

April 11, 2022. The parties shall also file the Case Management Report. Failure to

respond shall result in a dismissal of this action without further notice.

       DONE and ORDERED in Orlando, Florida on July 1, 2022.
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Copies furnished to:
Counsel of Record
Any Unrepresented Party
